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"                  Supreme Court of the United States
                          Office of the Clerk
                      Washington, DC 20543-0001

                                    November 15, 2023


    Clerk
    United States Court of Appeals for the Second
    Circuit
    Thurgood Marshall United States Courthouse
    40 Foley Square
    New York, NY 10007


           Re: Marc S. Kirschner, Solely in His Capacity as Trustee of the
               Millennium Lender Claim Trust
               v. JP Morgan Chase Bank, N.A., et al.
               Application No. 23A431
               (Your No. 21-2726)


    Dear Clerk:

           The application for an extension of time within which to file a petition
    for a writ of certiorari in the above-entitled case has been presented to
    Justice Sotomayor, who on November 15, 2023, extended the time to and
    including December 19, 2023.

           This letter has been sent to those designated on the attached
    notification list.                          ' '



                                               Sincerely,
       Case 21-2726, Document 227, 11/20/2023, 3592222, Page2 of 2



             Supreme Court of the United States
                    Office of the Clerk
                Washington, DC 20543-0001
                                                            Scott S. Harris
                                                            Clerk of the Court
                                                            (202) 479-3011
                           NOTIFICATION LIST


Mr. Jeffrey Alan Lamken
MoloLamken LLP
The Watergate, Suite 500
600 New Hampshire Ave., N.W.
Washington, DC 20037


Clerk
United States Court of Appeals for the Second Circuit
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007
